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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                Northern District
                                              __________  DistrictofofCalifornia
                                                                       __________

                  United States of America                      )
                             v.
                   GREGORY BORBOA
                                                                )
                                                                )      Case No.    CR 22-70313-MAG
                                                                )
                                                                )
                                                                )
                                                                )
                          Defendant(s)


                                              CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               May 19, 2020                  in the county of             Santa Clara      in the
     Northern          District of       California         , the defendant(s) violated:

            Code Section                                                  Offense Description
18 U.S.C. §§ 2252(a)(4)(B) & (b)(2)          Possession of Child Pornography




         This criminal complaint is based on these facts:
See attached affidavit of HSI Special Agent Brian Benson.




         ✔ Continued on the attached sheet.
         u

                                                                         /s/ Brian Benson/SvK w/permission
                                                                                           Complainant’s signature
         $SSURYHGDVWRIRUPBBBBBBBBBBBBBBB
                                                                                   Brian Benson, HSI Special Agent
                            $86$BBBBBBBBBB
                                                                                            Printed name and title

Sworn to before me E\WHOHSKRQH.


Date:     March 11, 2022
                                                                                              Judge’s signature

City and state:      San Jose, CA                                           Hon. Susan van Keulen, U.S. Magistrate Judge
                                                                                            Printed name and title
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                 AFFIDAVIT OF HSI SPECIAL AGENT BRIAN BENSON

                         IN SUPPORT OF CRIMINAL COMPLAINT



       I, Brian Benson, being duly sworn, depose and hereby declare as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      This affidavit is made in support of a complaint charging Gregory BORBOA

(“BORBOA”) with a violation of Title 18 U.S.C. §§ 2252(a)(4)(B) and (b)(2), Possession of

Child Pornography, occurring on May 19, 2020.

       2.      I am an “investigative or law enforcement officer of the United States” within the

meaning of 18 U.S.C. § 2510(7), that is, an officer of the United States who is empowered by

law to conduct investigations of, and to make arrests for, offenses enumerated in 18 U.S.C. §§

2252 and 2252A.

       3.      I am a Special Agent with the United States Department of Homeland Security

(DHS), Immigration and Customs Enforcement, Homeland Security Investigations (HSI) and

have been so employed since September 2019. Prior to my employment with HSI, I served as a

Special Agent with the Naval Criminal Investigative Service (NCIS) from 2014 to 2019 and

prior to that I held employment with the United States Park Police in Washington, D.C. from

2011 to 2012. I additionally served in the United States Air Force as an intelligence officer,

from which I honorably separated at the rank of captain in 2009.

       4.      I am a graduate of the Federal Law Enforcement Training Center (FLETC) in

Glynco, Georgia. I have received criminal investigator training and advanced investigative

training related to violations of federal law. I have investigated and assisted in the investigation

of hundreds of criminal cases relating to violations of state and/or federal law. Additionally,

while employed with NCIS, I served as a representative to the San Diego Internet Crimes

Against Children (ICAC) task force and I am currently affiliated with the Silicon Valley ICAC
                                                  1
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task force. Accordingly, I have experience investigating criminal violations relating to child

exploitation and child pornography, including violations pertaining to the illegal production,

distribution, receipt and possession of child pornography, in violation of 18 U.S.C. §§ 2251,

2252 and 2252A. In the course of these investigations, I have observed and reviewed numerous

examples of child pornography as defined in 18 U.S.C. § 2256.

       5.      The information set forth in this affidavit is not intended to detail each and every

fact and circumstance of the investigation or all information known to me and other law

enforcement investigators. Rather, this affidavit serves to establish probable cause for arrest.

The facts set forth in this affidavit are based upon my personal observations, my training and

experience, information obtained from other agents and witnesses, and my review of law

enforcement reports.

                           STATEMENT OF PROBABLE CAUSE

       6.      On January 21, 2020, Homeland Security Investigations (HSI) received a report

from Kik which indicated that on August 18, 2019, Kik user “guidosarducci1990” used Kik to

send a sexually explicit image of a minor. Kik further reported that the user account had been

created that same day, August 18, 2019, using an Android OS on a Samsung Galaxy J3 Orbit

cellular phone. Kik was alerted to the image through Microsoft’s PhotoDNA technology, which

sent a report to Kik. The PhotoDNA report was reviewed by a Kik law enforcement team

member who is trained on the Canadian statutory definition of child pornography. Kik removed

the image and closed the user’s account. The Kik report to HSI included the sexually explicit

image at issue and stated that the image’s hash value matched the hash value of a known child

pornography image identified by the National Center for Missing and Exploited Children

(NCMEC).

       7.      The Kik report provided the internet protocol (IP) address for guidosarducci1990.

This IP address was connected to Gregory BORBOA at his residence in San Jose, California.
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Facebook records further linked BORBOA to Kik user guidosarducci1990: BORBOA had

posted on Facebook a YouTube video of Father Guido Sarducci (a sketch comedy character from

the 1980’s). An Instagram account for user guidosarducci1990 also followed profiles for female

child models, child cheerleaders, and hashtags for kid models, tween girls, tween beachwear, and

similar tags.

       8.       The Honorable Nathanael Cousins issued a search warrant for BORBOA’s

residence in San Jose, California on May 15, 2020 (Case No. CR 20-70520 NC). The search

warrant was executed at BORBOA’s residence on May 19, 2020. During the search warrant,

agents seized a laptop, two discs and three phones, including a Samsung Galaxy J3 Orbit

smartphone (“Samsung Phone”).

       9.       Forensic analysis of the Samsung Phone found significant evidence of child

pornography. The phone contained 1,605 images and 36 videos that appeared to depict

questionable content (specifically, media content depicting possible minors posing nude,

partially clothed, or fully clothed in a sexually suggestive or explicit manner). Of these, nearly

all of the images and approximately half the videos displayed content identified as child

pornography, including depictions of infants, toddlers and preteen females engaged in sexually

explicit conduct such as sexual intercourse, masturbation, and lascivious exhibition of the

genitals or pubic area. 485 images and 8 videos had previously been identified by NCMEC as

known series of child pornography. The materials did not include the image identified by Kik

that had been the subject of the search warrant.

       10.      The Samsung Phone also contained Snapchat communications from May 18,

2020, the day before the search warrant was executed, where BORBOA traded pornographic

videos with another Snapchat user. During the exchange, BORBOA sent the other Snapchat user

a video depicting prepubescent females being vaginally penetrated by an adult male penis.

BORBOA commented on the video, stating “Oldest is 12.”
                                                   3
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       11.      During the execution of the search warrant on May 19, 2020, BORBOA was

interviewed by law enforcement. BORBOA stated that the guidosarducci1990@gmail.com

email address and guidosarducci1990 Instagram account belonged to him. He further stated that

he had used Snapchat on May 18, 2020, to exchange images of minors with another Snapchat

user. He acknowledged that the females he viewed in the child pornography materials were

minors and stated, “You can’t look at them and not know they’re not underage.”

                                         CONCLUSION

       12.      Based on the foregoing, there is probable cause to believe that on May 19, 2020,

BORBOA possessed child pornography, in violation of 18 U.S.C §§ 2252(a)(4)(B) and (b)(2).

       13.      I declare under penalty of perjury that the statements above are true and correct to

the best of my knowledge and belief.

                                                      ________________________________
                                                       /s/ Brian Benson/SvK w/permission
                                                      Brian Benson
                                                      Homeland Security Investigations


Sworn and subscribed to before me over the telephone pursuant to Fed. R. Crim. P. 4.1 and 4(d)
and signed by me on this _______
                          11th day of March 2022.


_________________________________
HON. SUSAN VAN KEULEN
United States Magistrate Judge




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       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:       COMPLAINT                INFORMATION                   INDICTMENT                       Name of District Court, and/or Judge/Magistrate Location
                                                                 SUPERSEDING                        NORTHERN DISTRICT OF CALIFORNIA
          OFFENSE CHARGED
                                                                                                                  SAN JOSE DIVISION
 Count One: 18 U.S.C. §§ 2252(a)(4)(B) and (b)(2) - Possession          Petty
 of Child Pornography
                                                                        Minor              DEFENDANT - U.S
                                                                        Misde-
                                                                        meanor
                                                                                          GREGORY BORBOA
                                                                        Felony
                                                                                              DISTRICT COURT NUMBER
PENALTY:      Max Imprisonment: 20 years


                                                                                                      CR 22-70313-MAG
              Max Fine: $250,000
              Supervised Release: Minimum 5 years, Maximum Life
              Special Assessment: $100
              Restitution, Potential Deportation, Forfeiture
                                                                                                                        DEFENDANT
                              PROCEEDING                                                        IS NOT IN CUSTODY
                                                                                                  Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                               1)       If not detained give date any prior
                      HSI Special Agent Brian Benson
                                                                                                  summons was served on above charges         
       person is awaiting trial in another Federal or State Court,                       2)       Is a Fugitive
       give name of court
                                                                                         3)       Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                                IS IN CUSTODY
                                                                                         4)       On this charge
       this is a reprosecution of

                                                                                                                                   }
       charges previously dismissed                                                      5)       On another conviction
       which were dismissed on motion                              SHOW                                                                      Federal         State


                                                        }
       of:                                                       DOCKET NO.
                                                                                         6)       Awaiting trial on other charges
            U.S. ATTORNEY               DEFENSE
                                                                                                   If answer to (6) is "Yes", show name of institution

       this prosecution relates to a

                                                                                                                            }
                                                                                                                  Yes            If "Yes"
       pending case involving this same                                                       Has detainer
                                                                                                                                 give date
       defendant                                                 MAGISTRATE                   been filed?         No             filed


                                                        }
                                                                  CASE NO.
       prior proceedings or appearance(s)                                                     DATE OF
                                                                                              ARREST
                                                                                                                        Month/Day/Year
       before U.S. Magistrate regarding this
       defendant were recorded under                                                          Or... if Arresting Agency & Warrant were not

                                                                                                                                       Month/Day/Year
Name and Office of Person
Furnishing Information on this form                Stephanie M. Hinds
                                                                                              DATE TRANSFERRED
                                                                                              TO U.S. CUSTODY
                                                                                                                            
                                 U.S. Attorney           Other U.S. Agency

Name of Assistant U.S.                                                                             This report amends AO 257 previously submitted
Attorney (if assigned)                      AUSA Maia Perez
                                                        ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
            SUMMONS                NO PROCESS*                   WARRANT         Bail Amount: None
        If Summons, complete following:
             Arraignment    Initial Appearance                                   * Where defendant previously apprehended on complaint, no new summons or
                                                                                 warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                                 Date/Time:                                 Before Judge:

        Comments:
